                      Case 21-01177-LMI   Doc 1    Filed 06/21/21      Page 1 of 4




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov


In re:                                                Chapter 13

GUILLERMO ARINEZ,                                     Case No.: 21-11824-LMI

      Debtor.
__________________________/

CIT BANK, N.A.,                                       Adv. Pro. No.:

         Plaintiff,
vs.

GUILLERMO ARINEZ,

      Defendant.
___________________________/


              COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT


         Plaintiff, CIT BANK, N.A. (“CIT” of “Plaintiff”), by and through its undersigned counsel,

hereby files this Complaint to Determine Dischargeability of Debt and as grounds states as follows:

         1.      This Court has jurisdiction pursuant to 28 U.S.C. §157(a),(b)(1),(b)(2)(I) (core

proceeding, 11 U.S.C. §1328 and 11 U.S.C. §523(c). Plaintiff consents to the entry of a final order

or judgment by the Court.

         2.      This adversary proceeding is brought pursuant to Rule 4007 of the Federal Rules of

Bankruptcy Procedure and pursuant to §523(a)(6), and §1328.

         3.      On February 26, 2021, GUILLERMO ARINEZ (“Defendant,” “Debtor,” or

“ARINEZ”) filed a voluntary petition under Chapter 13 of the Bankruptcy Code commencing the
                Case 21-01177-LMI        Doc 1       Filed 06/21/21   Page 2 of 4




above case. The Defendant, ARINEZ is the sole officer/member of GOLDEN ASSOCIATES

GROUP LLC (“GOLDEN”).

       4.      On or about March 25, 2019, CIT entered into a Master EFA Agreement and

Equipment Schedule (collectively “EFA”) with GOLDEN whereby CIT financed for GOLDEN the

purchase of the following equipment:

                            One (1) LC12 Induction Melter 12 Kilo
                           Six (6) LC12-1 Graphite Crucible 12 Kilo
                              One (1) I44 Induction Melter 4 KG
                                 Six (6) Crucible 4 KG for I44
                          Three (3) NI058430 Niton XL2 PM Analyzer
                          Two (2) S96-5 JL6001GE Mettler 6100 x 0.1

(collectively the “Induction Melters and Analyzers”). A true and correct copy of the EFA is attached

hereto as Exhibit “A.” Pursuant to the EFA, GOLDEN granted CIT a purchase money security

interest (PMSI) lien in the Induction Melters and Analyzers and CIT perfected its security interest

in and to the Induction Melters and Analyzers as evidenced by the UCC Financing Statement attached

hereto as Exhibit “B.” Further, Defendant, ARINEZ, personally guaranteed the EFA between CIT

and GOLDEN.

       5.      Pursuant to the EFA and Guaranty, GOLDEN and ARINEZ agreed to pay CIT

monthly payments in the amount of $1,738.08 for a term of 60 months. GOLDEN and ARINEZ

defaulted under the terms of the EFA by failing to pay the monthly payment due on April 22, 2020,

and all subsequent months.

       6.      On April 19, 2021, CIT timely filed a proof of claim (Claim No. 34-1) in the

bankruptcy case of ARINEZ, in the amount of $81,915.92.




                                                 2
                Case 21-01177-LMI         Doc 1       Filed 06/21/21     Page 3 of 4




       7.      Upon information and belief in or around January, 2020, the Defendant, ARINEZ,

sold the Induction Melters and Analyzers without the knowledge or consent of CIT.

       8.      11 U.S.C. §1328 precludes the discharge of the kind of debts specified under §523(a).

       9.      11 U.S.C. §523(a)(6) precludes the discharge of debt for “willful and malicious injury

by the debtor to another entity or to the property of another entity.”

       10.     Pursuant to the EFA, GOLDEN and ARINEZ were obligated not to sell or transfer

the Induction Melters and Analyzers without the consent of CIT.

       11.     The Debtor, individually or on behalf of GOLDEN intentionally sold the Induction

Melters and Analyzers in violation of Fla. Stat.§818.01 Disposing of Personal Property Under Lien

or Subject to Conditional Sale.

       12.     As a direct result of Debtor’s sale of the Induction Melters and Analyzers, CIT has

suffered damages by the loss of the collateral securing the amounts due under the EFA.

       13.     For the foregoing reasons, the Debtor’s sale of the Induction Melters and Analyzers

constitute a willful and malicious conversion and render the subject debt non-dischargeable under

§523(a)(6).

       14.     The balance of the claim as of the Petition Date was $81,915.92.

       15.     The terms and conditions of the EFA and Guaranty provide for the payment of

reasonable attorney’s fees, and all costs expended by CIT in the collection of the subject debt, which

are hereby requested by CIT.

       16.     For the reasons above, the balance due under the EFA of $81,915.92 is non-

dischargeable pursuant to 11 U.S.C. §523(a)(6).




                                                  3
                Case 21-01177-LMI        Doc 1       Filed 06/21/21   Page 4 of 4




       WHEREFORE, CIT, requests this Honorable Court enter a non-dischargeable judgment

against the Defendant, ARINEZ, in the amount of $81,915.92, plus attorney’s fees and costs and for

other such relief as the Court deems just and proper.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the Southern District of Florida and that I am in compliance with the additional qualifications to
practice in this court set forth in Local Rule 2090-1(A).

                   21 day of June, 2021.
       Dated this ____

                                EMANUEL & ZWIEBEL, PLLC
                                 Attorneys for CIT Bank, N.A.
                                       7900 Peters Road
                                 Executive Court at Jacaranda
                                     Building B, Suite 100
                                   Plantation, Florida 33324
                                    (954) 424-2005 Phone
                                      (954) 533-0138 Fax

                                     By: Eric B. Zwiebel__
                                      Eric B. Zwiebel, Esq.
                                    Florida Bar No.: 476404
                                  eric.zwiebel@emzwlaw.com




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